Case 1:22-cv-00601-CRC   Document 46-5   Filed 02/19/25   Page 1 of 2




                         Exhibit 5
                     CaserA.l1:22-cv-00601-CRC     Document  46-5      Filed
                                                                           AV bi02/19/25    Page 2 of 2
    .     .
u.J, u_o, ,uuo 1.J : 1.u
                 .            ,u'-10,0,1"          tUCM~ Kl ICA ttlCAN(;li         -+ AUil .WUN           1.0001



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~~STATION OVERRUN REPORT
                                                                                                          EXHIBIT

                        Complete this report for a• Station Overrun,                                       WMATA 9
                 or If you took action arid prevented a Station Overrun.

        Date ·        Time                        Station                   Track#                 Car#




                 Oetalts                           YES       NO                 Action Taken              ..
                                                                                .
 At the S Marker, did the PS$ Hlurrilnate?                  ·v
 Old the PSS light stay iltumloated untll                   ·i , /
 the train stopped?
 Entering the platform, was the train
 speed less u:,an or equal to 37 MPH?               v
                                                                                    ..
 When the Operating Cab passed the                                          .
 center of the platform, was the train stlll In
 a breaking mode?
                                                    v                ....
 At the second platform marker coll. was .
 the actual train speed 20 MPH or less?    V

Glva other pertinent Information below.
 uq,ri  tvQ5 unde.r l5rn rJb tJ) a    13 5 mcc.lc etnd sit d« '. tx~
                                      r
 t@t f-et I lbt heerk.s,. h4,n Jh.S: ;b C6?1 fztn6 e :b, ·
 sit.de a I- 4twnd. do/15mph, enJ-ed up wrln :L d eer l-eql_:,
 cl£. ±hr pl"' +Fµ,r, Jr2Jc,f/-c:an •
======-===---= - = - - = - - - - - - - - - - - - - - - - --··--- .-·····
                                                                                              '19 APR 20 PM9: '18




                                                     Payroll Number

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                                                                                             WMATA000089
                                                                                         WMATA000057
